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                           UNTIED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


USA,
                                              Case Number: 06-30173-02
                          Plaintiff,
 vs.

AHMAD KHILIA DANIELS,

                         Defendant./

          PRELIMINARY EXAMINATION FINDINGS OF PROBABLE CAUSE

       This Court finds probable cause exists to believe that violations of 18 U.S.C. 922(g)(1),

18 U.S.C. 924 © and 21 U.S.C. 841 (a)(1) have been committed. This Court further finds that

probable cause exists that Defendant Ahmad Khilia Daniels committed the acts with which he is

charged, specifically knowingly and intentionally possessing crack cocaine base and heroin with

the intent to distribute same, knowingly and intentionally delivering crack cocaine, possessing

firearms including an Intratec 9 MM caliber pistol, model TEC-DC9 with serial number

D066797,a Rossi .38 Caliber revolver with obliterated serial number, and an Imez 410 caliber

shotgun model Saiga-410 with serial number H02203434, during the commission of the above

drug offenses, all in violation of Title 18 U.S.C. 922 (g)(1), Title 18 U.S.C. 924 © and Title 21

U.S.C. 841 (a)(1). Defendant is to appear for further proceedings and will be bound over.

       IT IS SO ORDERED.



Dated: April 10, 2006                        s/ Mona K . Majzoub
                                             MONA K. MAJZOUB
                                             UNITED STATES MAGISTRATE JUDGE
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                                       Proof of Service

       I hereby certify that a copy of this Order was served upon Counsel of Record on this date.

Dated: April 12, 2006                       s/ Lisa C. Bartlett
                                            Courtroom Deputy
